USDC IN/ND case 1:20-cv-00037-HAB-SLC document 34 filed 03/31/20 page 1 of 22

                    THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF INDIANA
                           FORT WAYNE DIVISION

        LIGTEL COMMUNICATIONS, INC.,    )
                                        )
                  Plaintiff,            )
                                        )
                                        )CAUSE NO: 1:20-cv-37
        v.                              )
                                        )
        BAICELLS TECHNOLOGIES, INC.,    )
                                        )
                  Defendant.            )
        ---------------------------------




               TRANSCRIPT OF TELEPHONIC CONFERENCE HELD

                     FEBRUARY 18, 2020, BEFORE THE

                HONORABLE HOLLY A. BRADY, UNITED STATES

                           DISTRICT COURT JUDGE




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USDC IN/ND case 1:20-cv-00037-HAB-SLC document 34 filed 03/31/20 page 2 of 22




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                                                                   003page 3 of 22
     USDC IN/ND case 1:20-cv-00037-HAB-SLC document 34 filed 03/31/20

1            (Whereupon, the following proceedings were held on

2      February 18, 2020, in open court, with the parties

3      appearing by counsel via telephone:)

4                 THE COURT:    Good morning.

5                 UNIDENTIFIED COUNSEL:      Good morning, Your Honor.

6                 UNIDENTIFIED COUNSEL:      Good morning, Your Honor.

7                 UNIDENTIFIED COUNSEL:      Good morning, Your Honor.

8                 THE COURT:    We're on the record now in the matter of

9      LigTel Communications, Inc. versus BaiCells Technologies, Inc.

10     et al, in cause number 1:20-cr-37.

11          Let the record reflect that the plaintiff is represented

12     by Attorneys Samuel Feder, Gabriel Gillett and Leigh Jahnig.

13     The defendant is represented by Attorneys Adam Arceneaux,

14     Jessa DeGroote and Eric McKeown.

15          The Court scheduled this matter for a status conference to

16     discuss scheduling for the pending motion for preliminary

17     injunction.    I just wanted to get a sense from the parties how

18     much time they thought they would need before we could

19     schedule the motion for hearing, and then also to hear from

20     the parties about the defendant's motion for leave to conduct

21     expedited discovery.

22          Who will be speaking on behalf of the plaintiff?

23                ATTORNEY GABRIEL GILLETT:      I will, Your Honor, and

24     this is Gabriel Gillett.

25                THE COURT:    Mr. Gillett, I guess, first, does the
                                                                   004page 4 of 22
     USDC IN/ND case 1:20-cv-00037-HAB-SLC document 34 filed 03/31/20

1      plaintiff have any objection to the motion to conduct

2      expedited discovery?

3                 ATTORNEY GABRIEL GILLETT:      Yes, we have many

4      objections, Your Honor.       We think that discovery is not needed

5      at this point.     We don't think that the requests are tailored

6      to the decision on the PI motion, even insofar as some of them

7      may be tailored to the question of the ultimate success on the

8      merits.    And we also think that, you know, even if there were

9      going to be some expedited discovery, which we don't think

10     there needs to be any, we think that 19 interrogatories and 29

11     requests for production and what appears to be a full-blown

12     look at electronically-stored information and things like that

13     is far too broad for the type of discovery that happens before

14     a preliminary injunction hearing.

15                THE COURT:    And I did review the discovery that was

16     attached to the motion in preparation for today's hearing and

17     it does appear that it is much broader than might be necessary

18     for a hearing on the motion for preliminary injunction.

19          Who will be speaking for the defendant?

20                ATTORNEY ADAM ARCENEAUX:      Your Honor, this is Adam

21     Arceneaux.

22                THE COURT:    And, Mr. Arceneaux, what is the

23     defendant's position with respect to the scope of the

24     discovery?    And I will state that I think it is appropriate to

25     allow for some limited expedited discovery prior to the
                                                                   005page 5 of 22
     USDC IN/ND case 1:20-cv-00037-HAB-SLC document 34 filed 03/31/20

1      hearing on the motion for preliminary injunction.           But if you

2      could address the scope of the discovery, please.

3                 ATTORNEY ADAM ARCENEAUX:      Certainly.    Thank you, Your

4      Honor.

5           As we read the complaint and the motion and the brief in

6      support of the motion for preliminary injunction, it's our

7      understanding that the plaintiff has asserted five counts:

8      Two under the Lanham Act, one under the Indiana Unfair

9      Competition Law, one under federal trade secret law and one

10     under the Indiana trade secrets law to support their

11     application for a preliminary injunction.

12          The discovery that we have drafted, we've attempted to

13     tailor to the allegations of the complaint in support of

14     preliminary injunction, so we can discover the specific facts

15     and evidence that the plaintiffs intend to submit at the

16     preliminary injunction hearing, and so we can be prepared to

17     defend against the application for preliminary injunction.

18          We're happy to work with opposing counsel to see if we can

19     narrow these requests, but we did make an attempt to tailor

20     them to the allegations of the complaint.

21                THE COURT:    My thought is that I think what we're

22     going to do is we'll give the parties -- I think this is

23     something that you should clearly be able to work out amongst

24     yourselves.    So we'll give the parties until the 25th to work

25     together in an effort to tailor the discovery limited to the
                                                                   006page 6 of 22
     USDC IN/ND case 1:20-cv-00037-HAB-SLC document 34 filed 03/31/20

1      motion for preliminary injunction.

2           And then after the newly-revised discovery is completed by

3      the 25th, I would then give the plaintiff 30 days to respond

4      to that discovery, and to take the deposition -- the 30(b)(6)

5      deposition.

6           But I guess, the parties -- because we're dealing with the

7      preliminary injunction, of course, the parties are prepared to

8      work quickly, but I just -- looking at the discovery, it

9      appears that it's likely that the plaintiff will be filing a

10     motion for a protective order as well as the scope of the

11     discovery may touch upon some of the plaintiff's confidential

12     information.     So I guess I would just impress upon the parties

13     to be working on any protective order as well.

14          So I'll go ahead and grant the motion -- the motion for

15     leave to conduct expedited discovery, giving the parties --

16     the defendants 7 days to revise the discovery so that it is

17     limited to the matters at issue in the motion for preliminary

18     injunction.    And then I'll give the plaintiff 30 days to

19     respond to that discovery.

20          After the discovery is completed, when do the parties

21     think that they might be prepared to have the motion heard?

22     And, Mr. Gillett, when would the plaintiff be prepared to move

23     forward with the hearing?

24                ATTORNEY GABRIEL GILLETT:      I guess before I get to

25     that, Your Honor, I would like to reserve our right, if we
                                                                   007page 7 of 22
     USDC IN/ND case 1:20-cv-00037-HAB-SLC document 34 filed 03/31/20

1      can, in the next week to propound our own discovery for this

2      matter.    I mean, I'll tell you honestly, because we don't

3      think discovery is -- we didn't think discovery was needed at

4      this point, we didn't put in the request.          And when we got

5      defendant's request, it came about 6:00 o'clock last night, I

6      think.    So in that next week, we'd like the opportunity to at

7      least make some corresponding requests of the other side.            And

8      I think, you know, if our clients are going to be -- if

9      there's going to be a 30(b(6) witness deposed on the

10     plaintiff's side, which as I said, we don't think it's

11     necessary, we certainly would like to depose at least one of

12     the witnesses on the other side.        It could be a 30(b)(6), but

13     we know at least one and I believe three individuals from

14     BaiCells that have relevant information and are a part of

15     these issues that know about the HNI code, for example, that

16     have been told by us that our code is on their website and has

17     been and remains there today.        So we would like that.

18          To answer your actual question, we're prepared for the

19     hearing as early as the Court will hear us.          We think, even to

20     push this matter another 37 days to get through the discovery,

21     you know, it's far longer than what we want.          We're suffering

22     irreparable harm today, and we have been every day that

23     BaiCells is using our code and making the world think that

24     their equipment and their customers are actually LigTel

25     providers.    And so we're available as soon as the Court will
                                                                   008page 8 of 22
     USDC IN/ND case 1:20-cv-00037-HAB-SLC document 34 filed 03/31/20

1      hear us.

2                 THE COURT:    Okay.   And with respect to the request,

3      the plaintiff will certainly be entitled to propound its own

4      discovery in that same time frame.

5           And Mr. Arceneaux, then we would be looking at trying to

6      schedule a hearing likely the week of -- I'm trying to look

7      here, probably the week of April 6th or the week of April

8      13th.   I'm just trying to look at the calendar to see when we

9      would be able to get you on the calendar.

10          Does the defendant anticipate that there would be any

11     problem moving forward with the hearing, say, the week of

12     April 6th?

13                ATTORNEY ADAM ARCENEAUX:      Well, Your Honor, we're

14     happy to move as quickly as everybody can.

15          If I may respond to Mr. Gillett.        Of course, if the

16     plaintiff wishes to propound discovery, we're more than happy

17     to cooperate and respond in a timely fashion.

18          Two things on scheduling:       First, we would simply request

19     that we be given the same amount of time to respond to their

20     discovery as they have to respond to our discovery.

21          The second item is I think both parties would be in the

22     best position to take the depositions, whether it be 30(b)(6)

23     or individuals, as shortly after the other party has responded

24     to discovery.     In other words, when I go to take the 30(b)(6),

25     I'd like to have their documents so I can do it one time and
                                                                   009page 9 of 22
     USDC IN/ND case 1:20-cv-00037-HAB-SLC document 34 filed 03/31/20

1      completely and efficiently.

2           So I would ask the schedule be set up so that we respond

3      to their discovery, they respond to ours, and immediately

4      thereafter, we schedule depositions and then we should be

5      ready to go for the hearing.

6           So with that being said, if we can accomplish all of that

7      by the week of April 13th, we'll be more than happy to have a

8      hearing that week.

9                 THE COURT:    Okay.   And with respect -- your point

10     about the 30(b)(6) deposition being conducted following the

11     exchange of the written discovery is well taken, so the

12     parties will now have until March 26th to respond to one

13     another's discovery.      And then we'll give the parties until --

14     that will give you the week of the 30th or the week of the 6th

15     to review the documents and conduct the 30(b)(6) deposition,

16     and then we'll look at a hearing for the week of the 13th,

17     which just looking at the Court's calendar, it looks like

18     something that we could more easily accommodate.

19          I'm going to have our deputy take a look at the calendar

20     and see if we can do that.

21          (Whereupon, the Court had an off-the-record discussion

22     with the Courtroom Deputy.)

23                THE COURT:    How long do the parties anticipate that

24     the hearing will take, Mr. Gillett?         Do you think it will need

25     a half day or a full day?
                                                                    010page 10 of 22
     USDC IN/ND case 1:20-cv-00037-HAB-SLC document 34 filed 03/31/20

1                  ATTORNEY GABRIEL GILLETT:       I think safer to say a

2       full day at this point.      If the Court is wanting to hear live

3       witnesses, I can think of maybe five people that might need to

4       testify.    So I think that's safer.       It's possible as we get

5       through discovery and, perhaps, in the winnowing process, a

6       half a day would be sufficient.

7                  THE COURT:    Why don't we go ahead and schedule it --

8       are the parties available at 10:00 a.m. on Monday, April 13th,

9       Mr. Gillett for the plaintiff?

10                 ATTORNEY GABRIEL GILLETT:       Yes, that works for us,

11      Your Honor.

12                 THE COURT:    And Mr. Arceneaux, for the defendant,

13      10:00 o'clock on the 13th?

14                 ATTORNEY ADAM ARCENEAUX:      Yes, Your Honor.      And if I

15      may, one thing I neglected to mention, we do intend to file a

16      brief, but believe it will be more productive to file that

17      brief once we have done the depositions so we can be complete

18      in our briefing.     So if we may file a brief, say, by Thursday,

19      April 9th?

20                 THE COURT:    I was actually looking at -- I was going

21      to request briefs.      I was looking at Wednesday, April 8th.

22                 ATTORNEY ADAM ARCENEAUX:      Very good.

23                 THE COURT:    That will give the Court the opportunity

24      to review and prepare for the hearing.

25                 ATTORNEY ADAM ARCENEAUX:      That sounds good.
                                                                    011page 11 of 22
     USDC IN/ND case 1:20-cv-00037-HAB-SLC document 34 filed 03/31/20

1                 THE PLAINTIFF:     And then would we have the

2       opportunity to reply, Your Honor?

3                 THE COURT:     No, both parties can file a pre-hearing

4       brief on the 8th.     And if you want to file a reply, you could

5       file a reply on the 10th.       But if LigTel wants to supplement

6       the original memorandum, they should file any supplement to

7       that memorandum by April 8th.        And then if the parties wish to

8       file a reply, they can file that on April 10th.

9                 ATTORNEY GABRIEL GILLETT:        Okay.

10                THE COURT:     Is there anything further we need to

11      address on behalf of the plaintiff?

12                ATTORNEY GABRIEL GILLETT:        I think one point, Your

13      Honor, is whether the Court might be amenable to issuing an

14      order requiring that BaiCells take our HNI code off their

15      website now.    It's the sort of thing I don't think there's any

16      reason for it to be there.       I don't think that in the defense

17      of -- in whatever merits defendants might raise, I don't think

18      they've ever asserted, and they won't have assert they have

19      authorization to use our HNI code.         It's on their website.

20      It's been there for a while; they've known about it.            I went

21      back there and last night and it's still there.           And I don't

22      see any reason why going forward there's any reason to create

23      more confusion and create more issues in continuing to have

24      our code on their website.

25                THE COURT:     Mr. Arceneaux, what's the defendant's
                                                                    012page 12 of 22
     USDC IN/ND case 1:20-cv-00037-HAB-SLC document 34 filed 03/31/20

1       response to that?

2                  ATTORNEY ADAM ARCENEAUX:      Yes.   First of all, Your

3       Honor, there is a dispute.       Our client is not using LigTel's

4       HNI code.    LigTel has a six-digit HNI code which it has been

5       using for several years.       What BaiCells has been using is a

6       five-digit HNI code.

7            And I understand the allegation in the complaint is that

8       the five digits, if you add a zero, they contend it causes

9       confusion.

10           I think it's important for me to point out that the

11      parties first met on this issue on July 29th up in Ligonier,

12      Indiana.    And less than one month later on September 20th,

13      BaiCells submitted a migration plan.         And let me give you the

14      name of the organization that governs this -- it's the IMSI

15      Oversight Council or IOC.       IMSI stands for International

16      Mobile Subscriber Identity.       And the oversight council is the

17      trade organization which regulates the use of these numbers,

18      the HNI code, et cetera.

19           Our client, BaiCells, is over halfway through its

20      mitigation plan and expects to complete that plan no later

21      than July 31st of this year.       So I just want to put this into

22      the proper context.      Number one, we don't agree that we're

23      using their code; it's a different number.          Number two, we're

24      halfway through a migration plan to eliminate this issue.

25           That being said, I will visit with our clients on the
                                                                    013page 13 of 22
     USDC IN/ND case 1:20-cv-00037-HAB-SLC document 34 filed 03/31/20

1       website issue and see if we can't resolve that without need of

2       any proceeding.

3                  THE COURT:    My review of the pretrial filings -- now,

4       doesn't BaiCell have a new HNI code that it's using?

5                  ATTORNEY ADAM ARCENEAUX:      It does, Your Honor, and

6       that's what it is using the migration plan to migrate all of

7       its customers and their customers over to.

8                  THE COURT:    And does the new code use the five digits

9       from the prior code?

10                 ATTORNEY ADAM ARCENEAUX:      No, Your Honor.

11                 THE COURT:    So why are the five digit codes still on

12      the website?

13                 ATTORNEY ADAM ARCENEAUX:      I don't know, and I'll have

14      that discussion.

15                 ATTORNEY GABRIEL GILLETT:       I would also point out,

16      Your Honor, that it is true there is a five-digit code on the

17      website.    But all HNI codes in the United States need to be

18      six digits, which is one of the issues in this case.            I think

19      in our view, and correct to say you can't take a six-digit

20      code, chop off a number and say it's perfectly valid to put it

21      on the website and use it in communications with customers,

22      because it's technologically impossible in the United States

23      to actually use a five-digit code.

24           And I think the other point that will probably come out in

25      discovery, but I'll raise it now just so the Court is aware,
                                                                    014page 14 of 22
     USDC IN/ND case 1:20-cv-00037-HAB-SLC document 34 filed 03/31/20

1       that we have not seen any evidence of any sort of a mitigation

2       or a cure, this administrative process which is voluntary and

3       not binding and not preclusive of what's happening before the

4       Court, and we have not heard a single word from either the

5       organization or BaiCells since January.         So frankly, it was

6       news and surprising news to us to hear that the BaiCells

7       believes that 50 percent done with any sort of migration.

8            I spoke with our clients yesterday, and -- or I guess --

9       yesterday, yeah, and confirmed with them, they haven't seen

10      anything on industry forums.       They haven't seen any public

11      notices.    They haven't seen any sort of reporting that they

12      would expect to happen if this sort of effort it would take to

13      migrate the HNI code was happening.

14           So certainly that will come up in discovery and we'll

15      figure out -- get to the bottom of what exactly BaiCells has

16      been doing, and whether it is curing the issue.           But I want to

17      make sure the Court is aware this isn't quite as described

18      where, you know, we're halfway done with the process and we're

19      in court for just for the other half.

20                 THE COURT:    Well, certainly you'll be able to get

21      that information in discovery to find out what mitigation

22      efforts have taken place to date.

23           But, Mr. Arceneaux, back to the question of the five-digit

24      code appearing on the website.        If they're not using that

25      number, I'm struggling to understand what purpose that would
                                                                    015page 15 of 22
     USDC IN/ND case 1:20-cv-00037-HAB-SLC document 34 filed 03/31/20

1       be served by continuing to have that number on the website.

2                 ATTORNEY ADAM ARCENEAUX:       Your Honor, I honestly

3       don't have an answer to that question, but I will find out.

4                 THE COURT:     Why don't we do this:      Why don't you file

5       a report with the Court by the 21st, advising the Court

6       telling the Court whether or not it's been removed, and if

7       it's not removed, the purpose for needing to maintain that,

8       and then if it's not removed and the defendant articulates its

9       purpose, then the plaintiff, you can have until the following

10      Friday, the 28th to respond as to any request for relief with

11      respect to the number appearing on the website.

12           Is that satisfactory to the plaintiff, Mr. Gillett?

13                ATTORNEY GABRIEL GILLETT:        Yes, Your Honor.     Thank

14      you.

15                THE COURT:     Okay.   Is there anything -- Mr. Gillett,

16      was there anything more that you needed to address with the

17      Court on behalf of the plaintiff?

18                ATTORNEY GABRIEL GILLETT:        No, Your Honor.     Thank

19      you.

20                THE COURT:     Anything further on behalf of the

21      defendant, Mr. Arceneaux?

22                ATTORNEY ADAM ARCENEAUX:       No, Your Honor.      Thank you.

23                THE COURT:     Okay.   Then we'll have an entry setting

24      forth that the parties are to serve narrowed discovery as to

25      the issues in -- or as to the issues for the motion for
                                                                    016page 16 of 22
     USDC IN/ND case 1:20-cv-00037-HAB-SLC document 34 filed 03/31/20

1       preliminary injunction by February 25th, and then the parties

2       will have until March 26th to respond to the written

3       discovery.    The parties will have the opportunity to take any

4       depositions after -- or the depositions need to be concluded

5       by, let's say, the depositions will be concluded by April 7th.

6       The parties are to file their pre-hearing brief on April 8th.

7       Any reply by April 10th.       The hearing will be April 13th at

8       10:00 o'clock a.m., and by Friday, March 21st, the defendant

9       is to file a report with the Court regarding the HNI number on

10      the website, and any response or request for relief by the

11      plaintiff by the 28th.      I think that addresses everything that

12      the parties brought to the Court today.

13           Anything further, then, Mr. Gillett; have I accurately

14      summarized where we're at?

15                ATTORNEY GABRIEL GILLETT:          I think you might have

16      said March 21st for the website report; I think you mean

17      February.

18                THE COURT:     Yes, thank you.       I did.   I apologize if I

19      misspoke.    February 21st and February 28th will be the

20      deadlines with respect to the website.

21           Anything further from the defendant, Mr. Arceneaux?

22                ATTORNEY ADAM ARCENEAUX:           No, Your Honor.   Thank you.

23                THE COURT:     Okay.   Thank you for making yourselves

24      available today.     That concludes the proceeding.

25                                       *   *   *
                                                                    017page 17 of 22
     USDC IN/ND case 1:20-cv-00037-HAB-SLC document 34 filed 03/31/20

1

2                            CERTIFICATE OF THE REPORTER

3             I hereby certify that the foregoing proceedings is true

4       and correct, as taken down and transcribed to the best of my

5       ability, with the aid of realtime computer-aided

6       transcription and/or transcriptionist.

7

8

9                                s/ Tina M. Gallucci__________________
                                 Tina M. Gallucci, RMR, CRR, FCRR
10                               United States District Court Reporter

11

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ATTORNEY ADAM ARCENEAUX: [13]
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                             10/25 12/2                                document 34 filed  03/31/20       page    18 of 22
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ATTORNEY GABRIEL GILLETT: [11]
                                         Act [1] 5/8                                  before [5] 1/13 3/18 4/13 6/24 14/3
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THE COURT: [26]
                                         ADAM [3] 2/10 3/13 4/20                      believe [2] 7/13 10/16
THE PLAINTIFF: [1] 11/1
                                         add [1] 12/8                                 believes [1] 14/7
UNIDENTIFIED COUNSEL: [3] 3/5 3/6
                                         address [3] 5/2 11/11 15/16                  Berry [1] 2/11
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1                                        administrative [1] 14/2                      binding [1] 14/3
1099 [1] 2/7                             advising     [1]    15/5                     Block [1] 2/6
10:00 [3] 10/8 10/13 16/8                after  [4]   6/2   6/20   8/23 16/4          blown [1] 4/11
10th [3] 11/5 11/8 16/7                  against    [1]    5/17                       both [2] 8/21 11/3
116 [1] 2/11                             agree [1] 12/22                              bottom [1] 14/15
1300 [2] 1/22 2/22                       ahead    [2]     6/14   10/7                 BRADY [1] 1/14
13th [6] 8/8 9/7 9/16 10/8 10/13 16/7    aid  [1]  17/5                               brief [6] 5/5 10/16 10/17 10/18 11/4 16/6
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19 [1] 4/10                              all [4] 9/6 12/2 13/6 13/17                  broad [1] 4/13
1:20-cr-37 [1] 3/10                      allegation      [1]   12/7                   broader [1] 4/17
1:20-cv-37 [1] 1/5                       allegations       [2]  5/13  5/20            brought [1] 16/12
                                         allow [1] 4/25                               but [12] 5/1 5/19 6/6 6/8 7/12 10/16 11/5
2                                        also [3] 3/19 4/8 13/15                       13/17 13/25 14/16 14/23 15/3
20001 [1] 2/8                            amenable [1] 11/13
                                         amongst [1] 5/23                             C
2020 [2] 1/13 3/2
20th [1] 12/12                           amount [1] 8/19                              calendar [4] 8/8 8/9 9/17 9/19
2105 [2] 1/22 2/22                       another     [1]    7/20                      came [1] 7/5
21st [4] 15/5 16/8 16/16 16/19           another's      [1]   9/13                    can [13] 5/14 5/16 5/18 7/1 8/14 8/25 9/6
25th [3] 5/24 6/3 16/1                   answer [2] 7/18 15/3                          9/20 10/3 10/17 11/3 11/8 15/9
260 [2] 1/24 2/24                        anticipate      [2]   8/10 9/23              can't [2] 13/1 13/19
26th [2] 9/12 16/2                       any   [19]                                   case   [1] 13/18
28th [3] 15/10 16/11 16/19               anything [7] 11/10 14/10 15/15 15/16         cause [2] 1/5 3/10
29 [1] 4/10                              15/20 16/13 16/21                            causes [1] 12/8
29th [1] 12/11                           apologize       [1]   16/18                  certainly [5] 5/3 7/11 8/3 14/14 14/20
                                         appear [1] 4/17                              CERTIFICATE [2] 17/2 17/12
3                                        APPEARANCES [1] 2/3                          CERTIFIED [2] 1/21 2/21
30 [9] 6/3 6/4 6/18 7/9 7/12 8/22 8/24   appearing [3] 3/3 14/24 15/11                certify [1] 17/3
9/10 9/15                                appears      [2]   4/11   6/9                cetera [1] 12/18
3060 [2] 1/24 2/24                       application [2] 5/11 5/17                    chop [1] 13/20
30th [1] 9/14                            applies    [1]    17/12                      clearly [1] 5/23
31st [1] 12/21                           apply   [1]    17/12                         client [2] 12/3 12/19
37 [3] 1/5 3/10 7/20                     appropriate [1] 4/24                         clients [3] 7/8 12/25 14/8
                                         April [13] 8/7 8/7 8/12 9/7 10/8 10/19       code [19]
4                                        10/21 11/7 11/8 16/5 16/6 16/7 16/7          codes [2] 13/11 13/17
423-3060 [2] 1/24 2/24                   ARCENEAUX [10] 2/10 3/13 4/21 4/22           come [2] 13/24 14/14
46802 [3] 1/23 2/12 2/23                 8/5   10/12      11/25   14/23  15/21 16/21  communications [3] 1/3 3/9 13/21
                                         are [9] 4/5 6/7 7/8 7/14 7/24 10/8 13/11 Competition [1] 5/9
5                                        15/24 16/6                                   complaint [4] 5/5 5/13 5/20 12/7
50 [1] 14/7                              articulates [1] 15/8                         complete [2] 10/17 12/20
                                         as [20]                                      completed [2] 6/2 6/20
6                                        ask [1] 9/2                                  completely [1] 9/1
6:00 [1] 7/5                             assert [1] 11/18                             computer [1] 17/5
6th [3] 8/7 8/12 9/14                    asserted      [2]   5/7  11/18               computer-aided [1] 17/5
                                         at [20]                                      computerized [1] 17/13
7                                        attached [1] 4/16                            concluded [2] 16/4 16/5
7th [1] 16/5                             attempt [1] 5/19                             concludes [1] 16/24
                                         attempted [1] 5/12                           conduct [4] 3/20 4/1 6/15 9/15
8                                        Attorneys [2] 3/12 3/13                      conducted [1] 9/10
8th [4] 10/21 11/4 11/7 16/6             authorization [1] 11/19                      conference [2] 1/12 3/15
                                         available [3] 7/25 10/8 16/24                confidential [1] 6/11
9                                        Avenue [1] 2/7                               confirmed [1] 14/9
900 [1] 2/7                              aware [2] 13/25 14/17                        confusion [2] 11/23 12/9
9th [1] 10/19                                                                         contend [1] 12/8
                                         B                                            context [1] 12/22
A                                        back [2] 11/21 14/23                         continuing [2] 11/23 15/1
a.m [2] 10/8 16/8                        BaiCell [1] 13/4                             cooperate [1] 8/17
ability [1] 17/5                         BAICELLS [11] 1/6 3/9 7/14 7/23 11/14 copies [1] 17/12
C                                     efficiently [1] 9/1                            go [4] 6/14 8/24 9/5 10/7
                                      effort [2] 5/25 14/12                          going [7] 4/9 5/22 7/8 7/9 9/19 10/20
correct [2] 13/19 17/4
      USDC IN/ND                      efforts [1] 14/22                               11/22
corresponding  [1] 7/7 case 1:20-cv-00037-HAB-SLC document 34                     filed  03/31/20 page 19 of 22
                                      either [1] 14/4                                good [6] 3/4 3/5 3/6 3/7 10/22 10/25
could [5] 3/18 5/2 7/12 9/18 11/4
                                      electronically [1] 4/12                        got [1] 7/4
council [2] 12/15 12/16
                                      electronically-stored [1] 4/12                 governs [1] 12/14
counsel [2] 3/3 5/18
                                      eliminate [1] 12/24                            grant [1] 6/14
counts [1] 5/7
                                      entitled [1] 8/3                               guess [5] 3/25 6/6 6/12 6/24 14/8
course [2] 6/7 8/15
                                      entry [1] 15/23
court [21]                                                                           H
                                      equipment [1] 7/24
Court's [1] 9/17
                                      ERIC [2] 2/11 3/14                            had [1] 9/21
Courtroom [1] 9/22
                                      ESQ [6] 2/5 2/5 2/6 2/10 2/10 2/11            half [3] 9/25 10/6 14/19
cr [1] 3/10
                                      et [2] 3/10 12/18                             halfway [3] 12/19 12/24 14/18
create [2] 11/22 11/23
                                      even [3] 4/6 4/8 7/19                         happen [1] 14/12
CRR [3] 1/21 2/21 17/9
                                      ever [1] 11/18                                happening [2] 14/3 14/13
cure [1] 14/2
                                      every [1] 7/22                                happens [1] 4/13
curing [1] 14/16
                                      everybody [1] 8/14                            happy [4] 5/18 8/14 8/16 9/7
customers [4] 7/24 13/7 13/7 13/21
                                      everything [1] 16/11                          harm [1] 7/22
cv [1] 1/5
                                      evidence [2] 5/15 14/1                        Harrison [2] 1/22 2/22
D                                     exactly [1] 14/15                             has [7] 5/7 7/16 8/23 12/4 12/4 12/5
                                      example [1] 7/15                               14/15
date [1] 14/22
                                      exchange [1] 9/11                             have [30]
day [5] 7/22 9/25 9/25 10/2 10/6
                                      expect [1] 14/12                              haven't [3] 14/9 14/10 14/11
days [4] 6/3 6/16 6/18 7/20
                                      expects [1] 12/20                             hear [5] 3/19 7/19 8/1 10/2 14/6
DC [1] 2/8
                                      expedited [5] 3/21 4/2 4/9 4/25 6/15          heard [2] 6/21 14/4
deadlines [1] 16/20
                                                                                    hearing [18]
dealing [1] 6/6                          F                                          held [2] 1/12 3/1
decision [1] 4/6
                                         facts [1] 5/14                             here [1] 8/7
defend [1] 5/17
                                         far [2] 4/13 7/21                          hereby [1] 17/3
defendant [10] 1/7 2/10 3/13 4/19 8/10
                                         fashion [1] 8/17                           hereof [1] 17/12
10/12 15/8 15/21 16/8 16/21
                                         FCRR [3] 1/21 2/21 17/9                    HNI [11] 7/15 11/14 11/19 12/4 12/4 12/6
defendant's [4] 3/20 4/23 7/5 11/25
                                         FEBRUARY [6] 1/13 3/2 16/1 16/17            12/18 13/4 13/17 14/13 16/9
defendants [2] 6/16 11/17
                                          16/19 16/19                               HOLLY [1] 1/14
defense [1] 11/16
                                         FEDER [2] 2/5 3/12                         honestly [2] 7/2 15/2
DeGROOTE [2] 2/10 3/14
                                         federal [1] 5/9                            Honor [22]
depose [1] 7/11
                                         figure [1] 14/15                           HONORABLE [1] 1/14
deposed [1] 7/9
                                         file [12] 10/15 10/16 10/18 11/3 11/4 11/5 how [2] 3/17 9/23
deposition [4] 6/4 6/5 9/10 9/15
                                          11/6 11/8 11/8 15/4 16/6 16/9
depositions [6] 8/22 9/4 10/17 16/4 16/4                                            I
                                         filing [1] 6/9
16/5
                                         filings [1] 13/3                           I'd [1] 8/25
deputy [2] 9/19 9/22
                                         find [2] 14/21 15/3                        I'll [5] 6/14 6/18 7/2 13/13 13/25
described [1] 14/17
                                         first [4] 3/25 8/18 12/2 12/11             I'm [4] 8/6 8/8 9/19 14/25
did [3] 4/15 5/19 16/18
                                         five [9] 5/7 10/3 12/6 12/8 13/8 13/11     Identity [1] 12/16
didn't [2] 7/3 7/4
                                          13/16 13/23 14/23                         if [23]
different [1] 12/23
                                         five-digit [4] 12/6 13/16 13/23 14/23      immediately [1] 9/3
digit [7] 12/4 12/6 13/11 13/16 13/19
                                         Floor [1] 2/12                             important [1] 12/10
13/23 14/23
                                         following [3] 3/1 9/10 15/9                impossible [1] 13/22
digits [3] 12/8 13/8 13/18
                                         foregoing [1] 17/3                         impress [1] 6/12
discover [1] 5/14
                                         FORT [4] 1/2 1/23 2/12 2/23                IMSI [2] 12/14 12/15
discovery [37]
                                         forth [1] 15/24                            in [32]
discuss [1] 3/16
                                         forums [1] 14/10                           INC [4] 1/3 1/6 3/9 3/9
discussion [2] 9/21 13/14
                                         forward [3] 6/23 8/11 11/22                INDIANA [7] 1/1 1/23 2/12 2/23 5/8 5/10
dispute [1] 12/3
                                         frame [1] 8/4                               12/12
DISTRICT [4] 1/1 1/1 1/15 17/10
                                         frankly [1] 14/5                           individuals [2] 7/13 8/23
DIVISION [1] 1/2
                                         Friday [2] 15/10 16/8                      industry [1] 14/10
do [8] 5/22 6/20 8/25 9/20 9/23 9/24
                                         full [3] 4/11 9/25 10/2                    information [4] 4/12 6/12 7/14 14/21
10/15 15/4
                                         full-blown [1] 4/11                        injunction [13] 3/17 4/14 4/18 5/1 5/6 5/11
documents [2] 8/25 9/15
                                         further [4] 11/10 15/20 16/13 16/21         5/14 5/16 5/17 6/1 6/7 6/18 16/1
does [6] 3/25 4/17 8/10 13/5 13/8 17/12
                                                                                    innd.uscourts.gov [2] 1/23 2/23
doesn't [1] 13/4                         G                                          insofar [1] 4/6
doing [1] 14/16
                                         GABRIEL [3] 2/5 3/12 3/24                  intend [2] 5/15 10/15
don't [14] 4/5 4/9 7/2 7/10 10/7 11/15
                                         gallucci [6] 1/21 1/23 2/21 2/23 17/9 17/9 International [1] 12/15
11/16 11/17 11/21 12/22 13/13 15/3 15/4
                                         get [7] 3/17 6/24 7/20 8/9 10/4 14/15      interrogatories [1] 4/10
15/4
                                          14/20                                     into [1] 12/21
done [3] 10/17 14/7 14/18
                                         GILLETT [11] 2/5 3/12 3/24 3/25 6/22       IOC [1] 12/15
down [1] 17/4
                                          8/15 9/24 10/9 15/12 15/15 16/13          IRENE [1] 2/10
drafted [1] 5/12
                                         give [8] 5/22 5/24 6/3 6/18 9/13 9/14      irreparable [1] 7/22
E                                         10/23 12/13                               is [41]
                                         given [1] 8/19                             isn't [1] 14/17
early [1] 7/19
                                         giving [1] 6/15                            issue [5] 6/17 12/11 12/24 13/1 14/16
easily [1] 9/18
I                                          mitigation [3] 12/20 14/1 14/21                        out [7] 5/23 12/10 13/15 13/24 14/15
                                           Mobile [1] 12/16                                        14/21 15/3
issues [5] 7/15 11/23 13/18 15/25 15/25
       USDC                                Monday         [1]  10/8
                IN/ND case 1:20-cv-00037-HAB-SLC document 34 filed 03/31/20                       over  [2] 12/19 13/7page 20 of 22
issuing   [1] 11/13
                                           month [1] 12/12                                        oversight [2] 12/15 12/16
it [26]
                                           more [7] 8/16 9/7 9/18 10/16 11/23 11/23 own [2] 7/1 8/3
it's [18]
                                           15/16
item [1] 8/21                                                                                     P
                                           morning [4] 3/4 3/5 3/6 3/7
its [4] 8/3 12/19 13/7 15/8
                                           motion [17] 3/16 3/19 3/20 4/1 4/6 4/16                part [1] 7/14
J                                          4/18 5/1 5/5 5/6 6/1 6/10 6/14 6/14 6/17 parties [23]
                                           6/21 15/25                                             party [1] 8/23
JAHNIG [2] 2/6 3/12
                                           move      [2]   6/22    8/14                           pending [1] 3/16
January [1] 14/5
                                           moving       [1]   8/11                                people [1] 10/3
Jenner [1] 2/6
                                           Mr   [15]     3/25    4/22  6/22  8/5 8/15  9/24 10/9  percent [1] 14/7
JESSA [2] 2/10 3/14
                                           10/12      11/25      14/23  15/12  15/15   15/21      perfectly [1] 13/20
JUDGE [1] 1/15
                                           16/13      16/21                                       perhaps [1] 10/5
July [2] 12/11 12/21
                                           much      [2]   3/18    4/17                           PI [1] 4/6
just [8] 3/17 6/8 6/12 8/8 9/17 12/21
                                           my [3] 5/21 13/3 17/4                                  place [1] 14/22
 13/25 14/19
                                                                                                  plaintiff [18]
K                                          N                                                      plaintiff's [2] 6/11 7/10
know [7] 4/8 7/8 7/13 7/15 7/21 13/13      name      [1]    12/14                                 plaintiffs [1] 5/15
 14/18                                     narrow      [1]    5/19                                plan [5] 12/13 12/20 12/20 12/24 13/6
known [1] 11/20                            narrowed [1] 15/24                                     please [1] 5/2
                                           necessary [2] 4/17 7/11                                point [8] 4/5 7/4 9/9 10/2 11/12 12/10
L                                          need [7] 3/18 9/24 10/3 11/10 13/1 13/17 13/15 13/24
Lanham [1] 5/8                             16/4                                                   position [2] 4/23 8/22
last [2] 7/5 11/21                         needed       [3]    4/4  7/3 15/16                     possible [1] 10/4
later [2] 12/12 12/20                      needing [1] 15/7                                       pre [2] 11/3 16/6
law [3] 5/9 5/9 5/10                       needs      [1]   4/10                                  pre-hearing [2] 11/3 16/6
least [3] 7/7 7/11 7/13                    neglected [1] 10/15                                    preclusive [1] 14/3
leave [2] 3/20 6/15                        new    [3]    2/7   13/4   13/8                        preliminary [13] 3/16 4/14 4/18 5/1 5/6
LEIGH [2] 2/6 3/12                         newly     [1]    6/2                                    5/11 5/14 5/16 5/17 6/1 6/7 6/17 16/1
less [1] 12/12                             newly-revised [1] 6/2                                  preparation [1] 4/16
let [2] 3/11 12/13                         news [2] 14/6 14/6                                     prepare [1] 10/24
let's [1] 16/5                             next   [2]     7/1  7/6                                prepared [5] 5/16 6/7 6/21 6/22 7/18
Ligonier [1] 12/11                         night [2] 7/5 11/21                                    pretrial [1] 13/3
LIGTEL [5] 1/3 3/9 7/24 11/5 12/4          no   [7]   1/5    11/3   12/20  13/10   15/18 15/22    prior [2] 4/25 13/9
LigTel's [1] 12/3                          16/22                                                  probably [2] 8/7 13/24
like [7] 4/12 6/25 7/6 7/11 7/17 8/25 9/17 NORTHERN              [1]  1/1                         problem [1] 8/11
likely [2] 6/9 8/6                         not   [11]     4/4   12/3  14/1  14/3  14/3 14/4       proceeding [2] 13/2 16/24
limited [3] 4/25 5/25 6/17                 14/24 15/6 15/7 15/8 17/12                             proceedings [2] 3/1 17/3
live [1] 10/2                              notices     [1]    14/11                               process [3] 10/5 14/2 14/18
LLP [1] 2/6                                now [5] 3/8 9/12 11/15 13/3 13/25                      production [1] 4/11
long [1] 9/23                              number        [9]   3/10   12/22  12/23  12/23  13/20  productive [1] 10/16
longer [1] 7/21                            14/25      15/1     15/11   16/9                       proper [1] 12/22
look [5] 4/12 8/6 8/8 9/16 9/19            numbers [1] 12/17                                      propound [3] 7/1 8/3 8/16
looking [5] 6/8 8/5 9/17 10/20 10/21                                                              protective [2] 6/10 6/13
                                           O                                                      providers [1] 7/25
looks [1] 9/17
                                           o'clock [3] 7/5 10/13 16/8                             public [1] 14/10
M                                          objection [1] 4/1                                      purpose [3] 14/25 15/7 15/9
maintain [1] 15/7                          objections [1] 4/4                                     push [1] 7/20
make [3] 5/19 7/7 14/17                    off  [3]   9/21     11/14   13/20                      put [3] 7/4 12/21 13/20
making [2] 7/23 16/23                      Okay [6] 8/2 9/9 11/9 15/15 15/23 16/23
                                           on [36]                                                Q
many [1] 4/3
March [4] 9/12 16/2 16/8 16/16             once [1] 10/17                                         question [4] 4/7 7/18 14/23 15/3
matter [4] 3/8 3/15 7/2 7/20               one [12] 5/8 5/9 5/9 7/11 7/13 8/25 9/12 quickly [2] 6/8 8/14
matters [1] 6/17                           10/15 11/12 12/12 12/22 13/18                          quite [1] 14/17
may [5] 4/7 6/11 8/15 10/15 10/18          only   [1]    17/12
                                           open [1] 3/2                                           R
maybe [1] 10/3
McKEOWN [2] 2/11 3/14                      opportunity [4] 7/6 10/23 11/2 16/3                    raise [2] 11/17 13/25
me [2] 12/10 12/13                         opposing [1] 5/18                                      read [1] 5/5
mean [2] 7/2 16/16                         or  [14]    8/7    8/23   9/14 9/25   12/15  14/2 14/5 ready [1] 9/5
memorandum [2] 11/6 11/7                   14/8     15/6     15/25   16/4  16/10   17/6 17/13     realtime [3] 1/21 2/21 17/5
mention [1] 10/15                          order    [3]    6/10    6/13  11/14                    reason [3] 11/16 11/22 11/22
merits [2] 4/8 11/17                       organization         [3]  12/14  12/17   14/5          record [3] 3/8 3/11 9/21
met [1] 12/11                              original [2] 11/6 17/12                                reflect [1] 3/11
might [6] 4/17 6/21 10/3 11/13 11/17       other    [6]    7/7   7/12  8/23  8/24  13/24  14/19   regarding [1] 16/9
 16/15                                     our   [17]     5/6   6/25  7/1 7/8  7/16  7/23 8/20    regulates [1] 12/17
migrate [2] 13/6 14/13                     9/19 10/18 11/14 11/19 11/24 12/3 12/19 relevant [1] 7/14
migration [4] 12/13 12/24 13/6 14/7        12/25 13/19 14/8                                       relief [2] 15/10 16/10
misspoke [1] 16/19                         ours [1] 9/3                                           remains [1] 7/17
R                                         stored [1] 4/12                           TRANSCRIPT [2] 1/12 17/12
                                          Street [3] 1/22 2/11 2/22                 transcription [1] 17/6
removed [3] 15/6 15/7 15/8
                                          struggling   [1] 14/25                    transcriptionist
                                                                                        03/31/20 [1]page17/6 21 of 22
reply USDC
        [5] 11/2 IN/ND
                 11/4 11/5case  1:20-cv-00037-HAB-SLC document 34 filed
                           11/8 16/7
                                          submit [1] 5/15                           true [2] 13/16 17/3
report [3] 15/5 16/9 16/16
                                          submitted [1] 12/13                       trying [3] 8/5 8/6 8/8
REPORTER [4] 1/21 2/21 17/2 17/10
                                          Subscriber [1] 12/16                      two [3] 5/8 8/18 12/23
reporting [1] 14/11
                                          success [1] 4/7                           type [1] 4/13
represented [2] 3/11 3/13
                                          suffering [1] 7/21
request [7] 7/4 7/5 8/2 8/18 10/21 15/10                                            U
                                          sufficient [1] 10/6
 16/10
                                          Suite [3] 1/22 2/7 2/22                   ultimate [1] 4/7
requests [4] 4/5 4/11 5/19 7/7
                                          summarized [1] 16/14                      under [4] 5/8 5/8 5/9 5/10
requiring [1] 11/14
                                          supplement [2] 11/5 11/6                  understand [2] 12/7 14/25
reserve [1] 6/25
                                          support [3] 5/6 5/10 5/13                 understanding [1] 5/7
resolve [1] 13/1
                                          sure [1] 14/17                            Unfair [1] 5/8
respect [5] 4/23 8/2 9/9 15/11 16/20
                                          surprising [1] 14/6                       UNITED [5] 1/1 1/14 13/17 13/22 17/10
respond [11] 6/3 6/19 8/15 8/17 8/19 8/20
                                                                                    until [5] 5/24 9/12 9/13 15/9 16/2
 9/2 9/3 9/12 15/10 16/2                  T                                         up [3] 9/2 12/11 14/14
responded [1] 8/23
                                          tailor [3] 5/13 5/19 5/25                 upon [2] 6/11 6/12
response [2] 12/1 16/10
                                          tailored [2] 4/5 4/7                      us [5] 7/16 7/19 8/1 10/10 14/6
review [4] 4/15 9/15 10/24 13/3
                                          take [9] 6/4 8/22 8/24 9/19 9/24 11/14    use [5] 11/19 12/17 13/8 13/21 13/23
revise [1] 6/16
                                           13/19 14/12 16/3                         using [8] 7/23 12/3 12/5 12/5 12/23 13/4
revised [1] 6/2
                                          taken [3] 9/11 14/22 17/4                  13/6 14/24
right [1] 6/25
                                          technologically [1] 13/22
RMR [3] 1/21 2/21 17/9
                                          TECHNOLOGIES [2] 1/6 3/9                  V
S                                         telephone    [3] 2/5 2/10 3/3             valid [1] 13/20
                                          TELEPHONIC [1] 1/12                       versus [1] 3/9
safer [2] 10/1 10/4
                                          tell [1] 7/2                              Very [1] 10/22
said [4] 7/10 9/6 12/25 16/16
                                          telling [1] 15/6                          via [1] 3/3
same [2] 8/4 8/19
                                          testify [1] 10/4                          view [1] 13/19
SAMUEL [2] 2/5 3/12
                                          than [6] 4/17 7/21 8/16 9/7 12/12 12/21 visit [1] 12/25
satisfactory [1] 15/12
                                          thank [7] 5/3 15/13 15/18 15/22 16/18     voluntary [1] 14/2
say [6] 8/11 10/1 10/18 13/19 13/20 16/5
                                           16/22 16/23
schedule [5] 3/19 8/6 9/2 9/4 10/7
                                          that [80]                                 W
scheduled [1] 3/15                                                                  want [4] 7/21 11/4 12/21 14/16
                                          that's [2] 10/4 13/6
scheduling [2] 3/16 8/18
                                          their [13] 5/10 7/16 7/24 7/24 8/19 8/25 wanted [1] 3/17
scope [3] 4/23 5/2 6/10                                                             wanting [1] 10/2
                                           9/3 11/14 11/19 11/24 12/23 13/7 16/6
second [1] 8/21                                                                     wants [1] 11/5
                                          them [3] 4/6 5/20 14/9
secret [1] 5/9
                                          then [15] 3/19 6/2 6/3 6/18 8/5 9/4 9/13 was [8] 4/15 7/3 10/20 10/20 10/21 14/5
secrets [1] 5/10                                                                     14/13 15/16
                                           9/16 11/1 11/7 15/8 15/9 15/23 16/1
see [5] 5/18 8/8 9/20 11/22 13/1                                                    Washington [1] 2/8
                                           16/13
seen [4] 14/1 14/9 14/10 14/11
                                          there [13] 4/8 4/10 7/17 8/10 11/10 11/16 WAYNE [4] 1/2 1/23 2/12 2/23
sense [1] 3/17                                                                      we [48]
                                           11/20 11/21 11/21 12/3 13/16 15/15
September [1] 12/12                                                                 we'd [1] 7/6
                                           15/16
serve [1] 15/24                                                                     we'll [7] 5/22 5/24 9/7 9/13 9/16 14/14
                                          there's [3] 7/9 11/15 11/22
served [1] 15/1                                                                      15/23
                                          thereafter [1] 9/4
set [1] 9/2                                                                         we're [14] 3/8 5/18 5/21 6/6 7/18 7/21
                                          these [3] 5/19 7/15 12/17
setting [1] 15/23                                                                    7/25 8/13 8/16 12/22 12/23 14/18 14/18
                                          they [14] 3/18 3/18 6/21 8/20 9/3 11/6
several [1] 12/5
                                           11/8 11/18 11/18 12/8 14/9 14/10 14/11 16/14
shortly [1] 8/23                                                                    we've [1] 5/12
                                           14/11
should [3] 5/23 9/4 11/6                                                            website [14] 7/16 11/15 11/19 11/24 13/1
                                          they're [1] 14/24
side [3] 7/7 7/10 7/12                                                               13/12 13/17 13/21 14/24 15/1 15/11
                                          they've [2] 11/18 11/20
simply [1] 8/18                                                                      16/10 16/16 16/20
                                          thing [2] 10/15 11/15
since [1] 14/5                                                                      Wednesday [1] 10/21
                                          things [2] 4/12 8/18
single [1] 14/4                                                                     week [11] 7/1 7/6 8/6 8/7 8/7 8/11 9/7 9/8
                                          think [31]
six [3] 12/4 13/18 13/19                                                             9/14 9/14 9/16
                                          this [20]
six-digit [2] 12/4 13/19                                                            well [5] 6/10 6/13 8/13 9/11 14/20
                                          thought [2] 3/18 5/21
so [22]                                                                             went [1] 11/20
                                          three [1] 7/13
some [5] 4/6 4/9 4/25 6/11 7/7                                                      were [2] 3/1 4/8
                                          through [4] 7/20 10/5 12/19 12/24
something [2] 5/23 9/18                                                             what [9] 4/11 4/22 5/21 7/21 12/5 13/6
                                          Thursday [1] 10/18
soon [1] 7/25                                                                        14/15 14/21 14/25
                                          time [4] 3/18 8/4 8/19 8/25
sort [5] 11/15 14/1 14/7 14/11 14/12                                                what's [2] 11/25 14/3
                                          timely [1] 8/17
sounds [1] 10/25                                                                    whatever [1] 11/17
                                          tina [6] 1/21 1/23 2/21 2/23 17/9 17/9
South [2] 1/22 2/22                                                                 when [5] 6/20 6/22 7/4 8/8 8/24
                                          today [4] 7/17 7/22 16/12 16/24
speaking [2] 3/22 4/19                                                              where [2] 14/18 16/14
                                          today's [1] 4/16
specific [1] 5/14                                                                   Whereupon [2] 3/1 9/21
                                          together [1] 5/25
spoke [1] 14/8                                                                      whether [5] 8/22 11/13 14/16 15/6 17/12
                                          told [1] 7/16
stands [1] 12/15                                                                    which [7] 4/9 7/10 9/17 12/4 12/17 13/18
                                          too [1] 4/13
state [1] 4/24                                                                       14/2
                                          touch [1] 6/11
STATES [5] 1/1 1/14 13/17 13/22 17/10                                               while [1] 11/20
                                          trade [3] 5/9 5/10 12/17
status [1] 3/15                                                                     Who [2] 3/22 4/19
                                          transcribed [1] 17/4
still [2] 11/21 13/11
W
why [5] 10/7 11/22 13/11 15/4 15/4
      USDC IN/ND case 1:20-cv-00037-HAB-SLC
will [23]                                     document 34 filed 03/31/20 page 22 of 22
winnowing [1] 10/5
wish [1] 11/7
wishes [1] 8/16
without [1] 13/1
witness [1] 7/9
witnesses [2] 7/12 10/3
won't [1] 11/18
word [1] 14/4
words [1] 8/24
work [4] 5/18 5/23 5/24 6/8
working [1] 6/13
works [1] 10/10
world [1] 7/23
would [19]
written [2] 9/11 16/2
X
Xerox [1] 17/12
Y
yeah [1] 14/9
year [1] 12/21
years [1] 12/5
Yes [6] 4/3 10/10 10/14 12/2 15/13 16/18
yesterday [2] 14/8 14/9
York [1] 2/7
you [27]
you'll [1] 14/20
your [24]
yourselves [2] 5/24 16/23
Z
zero [1] 12/8
